                      Case 1:14-cv-00633-JEB Document
                      Case 1:14-cv-00633-JEB Document 18
                                                      21 Filed
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                          District
                                                    __________     of Columbia
                                                               District of __________

 The Ark Initiative, Donald Duerr, Scott Schlesinger,               )
                 Rocky Mountain Wild,                               )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 14-633 (JEB)
                                                                    )
 Chief Thomas Tidwell, U.S. Forest Service; Forest                  )
 Supervisor Scott Fitzwilliams, White River National                )
    Forest; Deputy Regional Forester Maribeth                       )
Gustafson, U.S. Forest Serv. Rocky Mountain Region                  )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Aspen Skiing Company
                                           601 East Dean Court
                                           Aspen, CO 81611




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of theamended
                                                                                  United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: William S. Eubanks II
                                           Meyer Glitzenstein & Crystal
                                           1601 Connecticut Avenue NW
                                           Suite 700
                                           Washington, DC 20009


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


           6/11/14                                                             /S/ T. Davis
Date:
                                                                                         Signature of Clerk or Deputy Clerk
                        Case 1:14-cv-00633-JEB Document
                        Case 1:14-cv-00633-JEB Document 18
                                                        21 Filed
                                                           Filed 06/06/14
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 Civil Action No. 14-633 (JEB)

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
